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12                               UNITED STATES DISTRICT COURT
13                             SOUTHERN DISTRICT OF CALIFORNIA
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15 PATRICK MCMORROW and MARCO                               Case No. 3:17-cv-2327 BEN JLB
16 OHLIN, on behalf of themselves, all others               The Honorable Roger T. Benitez
   similarly situated, and the general public,
17                                                          MEMORANDUM OF POINTS AND
                              Plaintiffs,
18                                                          AUTHORITIES IN SUPPORT OF
         v.                                                 MOTION TO DISMISS PLAINTIFFS’
19                                                          CLASS ACTION COMPLAINT
   MONDELĒZ INTERNATIONAL, INC.,
20                                                          Hearing Date: January 16, 2018
                              Defendant.                    Hearing Time: 10:30 a.m.
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                                                            Courtroom: 5A
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 1                                             INTRODUCTION
 2            Mondēlez Global LLC’s1 belVita breakfast biscuits contain an abundance of whole
 3 grains and feature carbohydrates that slowly release over a sustained period of time.
 4 Accordingly, the packaging of the belVita breakfast biscuits includes true statements such
 5 as “4 Hours of Nutritious Steady Energy” and “Nutritious Morning Energy.” Knowing that
 6 a federal district court recently held that the above claims were substantiated and could not
 7 be the basis for a consumer fraud class action, Plaintiffs attempt to pursue a novel — and
 8 implausible — theory that these true statements are somehow rendered false because the
 9 belVita biscuits allegedly contain “excessive” and “toxic” amounts of sugar. But Plaintiffs
10 cannot, and do not, allege that the amount of sugars in belVita biscuits was hidden from
11 consumers. As the images featured in Plaintiffs’ own complaint clearly show, the amount
12 of sugar is prominently disclosed on the front of the packaging of belVita cookies, as well
13 as in the well-known Nutrition Facts panel.
14            This Court should dismiss this meritless lawsuit for the following reasons:
15            First, Plaintiffs’ claims fail because they have not alleged that the labeling of the
16 belVita products will likely deceive a reasonable consumer.                     Plaintiffs have neither
17 identified any affirmative misrepresentation nor a material omission that plausibly supports
18 their claim of deception. They cannot point to any affirmative misrepresentation because
19 the challenged statements do not represent that the belVita biscuits are low in sugar.
20 Instead, they either truthfully characterize the belVita products (for instance, by calling
21 attention to the presence of slowly digestible carbohydrates) or are puffery (e.g., “Power
22 Up People”). Nor can Plaintiffs point to any material omission because the amount of added
23 sugar in the products is fully disclosed on the packaging, both on the front as well as in the
24 Nutrition Facts panel.
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     Plaintiffs incorrectly name Mondelēz International, Inc. (“MDLZ”), a global holding
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   company, as the Defendant, although Mondelēz Global LLC (“Mondelēz Global”) is the
28 operating company that sold and distributed the products at issue in the United States.
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 1          To the extent Plaintiffs claim that they were subjectively confused by the challenged
 2 statements, numerous federal courts have held that merely ambiguous labeling statements
 3 are not actionable if other information on the package would clarify that ambiguity. If
 4 Plaintiffs somehow thought that the phrase “4 Hours of Nutritious Steady Energy” meant
 5 that the belVita biscuits had little or no sugar, such a misimpression would be dispelled by
 6 other information on the packaging, including both the prominent disclosure on the front of
 7 each package listing the exact amount of sugar in each serving and the Nutrition Facts panel.
 8          Second, in any event, Plaintiffs have failed to plausibly allege that the belVita
 9 products even contain “excessive” added sugar. The FDA recently issued dietary guidance
10 that expressly permits consumption of up to 50 grams of added sugars per day (i.e., 16.66
11 grams in each of three daily meals). But according to Plaintiffs, the belVita products
12 challenged in this lawsuit contain an average of only 10.7 grams of added sugar — less than
13 a quarter of the amount allowed by the FDA. Put another way, Plaintiffs’ allegation that
14 the belVita products contain “excessive” sugar defies the FDA’s recent Daily Reference
15 Value (DRV) guidance for added sugar.
16          Third, Plaintiffs’ lawsuit is preempted by federal law. FDA regulations provide that
17 only four nutrients — total fat, saturated fat, cholesterol, and sodium — warrant
18 disqualifying a product from bearing health or nutrient content claims. Plaintiffs’ lawsuit
19 seeks to add a fifth nutrient to that list — added sugar — even though the FDA has
20 repeatedly declined to do so. Numerous courts, including two courts in other “excessive
21 sugar” cases brought by Plaintiffs’ counsel, have held that claims targeting otherwise lawful
22 and authorized claims solely on the basis of a product’s added sugar content are preempted
23 because they seek to circumvent federal law and impose labeling requirements in addition
24 to those imposed by FDA regulations.
25          Finally, Plaintiffs’ tag-along breach of warranty claims cannot withstand dismissal
26 for various reasons.
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 1                                            BACKGROUND
 2          On November 16, 2017, Plaintiffs filed this putative class action lawsuit, challenging
 3 the labeling of twenty varieties of the belVita line of breakfast biscuits that are made by
 4 Mondelēz Global under their Nabisco brand. The belVita products, which contain whole
 5 grains and other slowly digestible carbohydrates, bear various statements designed to
 6 highlight the fact that the products maintain steady energy levels and avoid the fluctuations
 7 associated with high-glycemic breakfast foods.               For instance, the belVita “Crunchy”
 8 Biscuits advertise that they provide “nutritious sustained energy” or “nutritious steady
 9 energy,” while others tout the fact that they contain “slow-release carbs from wholesome
10 grains.” Compl. ¶ 126. They also encourage consumers to “power up” and to “enjoy
11 belVita Breakfast Biscuits as part of a balanced breakfast with a serving of low-fat dairy
12 and fruit.” Id.
13          Plaintiffs do not dispute that the products contain slowly digestible carbohydrates
14 and accordingly provide “nutritious steady energy.” Indeed, a federal court recently
15 dismissed for the second time a complaint that challenged such phrases as misleading. See
16 Spector v. Mondelēz Int’l, Inc., No. 15-4298, 2017 WL 4283711 (N.D. Ill. Sept. 27, 2017).
17 There, the court held that the plaintiff had not identified any false statements and that
18 Mondelēz Global had scientific studies to substantiate the challenged claims. Id. at *6-10.
19          Faced with that ruling, Plaintiffs in this case try to navigate around it by alleging that
20 the labeling of the belVita products is still false and misleading because the products contain
21 “excessive” levels of added sugar. Over half of the complaint is dedicated to describing the
22 alleged dangers of consuming “excessive” added sugar, principally by summarizing largely
23 irrelevant studies and statistics that supposedly establish a connection between diets high in
24 added sugar and various negative health outcomes. Compl. ¶¶ 11-106. The complaint then
25 displays labels for the belVita products and lists a variety of statements that Plaintiffs
26 characterize as false and misleading. See id. ¶¶ 123-42.
27          Notably, none of those challenged statements represent that the belVita products are
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 1 low in sugar; in fact, none of the statements challenged in the complaint even mention sugar.
 2 See id. ¶¶ 126, 131, 136, 141 (listing statements challenged in this lawsuit). Moreoever, as
 3 images of the packaging in Plaintiffs’ complaint demonstrate, the left-hand corner of the
 4 front of the packaging prominently discloses the amount of sugar in the product per serving:
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21 Id. ¶ 130. Other varieties of belVita products similarly feature a disclosure in the front of
22 the packaging listing the amount of sugar per serving, as confirmed by the images in
23 Plaintiffs’ complaint. See id. ¶¶ 125, 130, 135, 140.
24           Furthermore, the Nutrition Facts panel on the packaging also discloses the amount of
25 sugar in the product per serving:
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10 Request for Judicial Notice (“RJN”) Ex. A.
11                                               ARGUMENT
12           To survive a motion to dismiss, a complaint must “‘contain sufficient factual matter,
13 accepted as true, to state a claim to relief that is plausible on its face.’” Gilchrist v. Joshua,
14 No. 17-494, 2017 WL 2123640, at *1 (S.D. Cal. May 16, 2017) (quoting Ashcroft v. Iqbal,
15 556 U.S. 662, 678 (2009)). Facts indicating the “‘mere possibility of misconduct’ . . . fall
16 short of meeting this plausibility standard.” Id. at *2 (quoting Iqbal, 556 U.S. at 678)
17 (emphasis added). Rather, the pleader must “allege more by way of factual content to
18 ‘nudg[e] his claim’” of unlawful action “‘across the line from conceivable to plausible.’”
19 Iqbal, 556 U.S. at 683.
20           Moreover, “[d]etermining whether a complaint states a plausible claim for relief . . .
21 requires the reviewing court to draw on its judicial experience and common sense.” Id. at
22 679 (emphasis added). In light of that guidance from the Supreme Court, courts have
23 regularly dismissed lawsuits where common sense belies the allegations in the complaint.
24 See, e.g., Stuart v. Cadbury Adams USA, LLC, 458 F. App’x 689, 690 (9th Cir. 2011)
25 (affirming dismissal of false advertising lawsuit that “def[ied] common sense”); Videtto v.
26 Kellogg USA, No. 08-01324, 2009 WL 1439086, at *4 (E.D. Cal. May 21, 2009)
27 (dismissing complaint where allegations in false advertising claim would require the court
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 1 to “ignore . . . common sense”).
 2 I.        Plaintiffs Have Not Plausibly Alleged That the Labeling of the belVita Products
 3           Is Likely to Deceive a Reasonable Consumer.

 4           To demonstrate that a statement is “likely to deceive a reasonable consumer” under
 5 California law, a plaintiff must show “that it is probable that a significant portion of the
 6 general consuming public or of targeted consumers, acting reasonably in the circumstances,
 7 could be misled.” Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 508 (2003)
 8 (emphasis added). It is not enough to show the “mere possibility that the advertisement
 9 might conceivably be misunderstood by some few consumers viewing it in an unreasonable
10 manner.” Id. As one California appellate court put it, “the standard is not a least
11 sophisticated consumer,” but rather a reasonable one. Hill v. Roll Int’l Corp., 195 Cal. App.
12 4th 1295, 1304 (2011) (citation omitted).
13           A.     Absent any misrepresentation or material omission, Plaintiffs have not
14                  alleged that added sugar renders accurate “steady energy” claims false.

15           Plaintiffs cannot point to any affirmative misrepresentation or material omission to
16 support a plausible claim of deception.                   They cannot point to any affirmative
17 misrepresentation because Plaintiffs cannot and do not dispute that belVita products have
18 whole grains and provide “sustained energy” through “slow-release carbs.” See, e.g.,
19 Compl. ¶ 126 (challenging claims that the belVita products provide “NUTRITIOUS
20 SUSTAINED ENERGY,” contain “slow-release carbs from wholesome grains,” and
21 “release energy regularly and continuously to fuel your body throughout the morning”).
22 Nor can they point to any material omission here because the packaging for belVita biscuits
23 discloses the precise amount of sugar on the front of the packaging, as well as in the
24 Nutrition Facts panel.
25           Instead of pointing to any affirmative misrepresentation or material omission,
26 Plaintiffs advance an implausible theory that the allegedly “excessive” amounts of added
27 sugar in these products (which is fully disclosed on the packaging) somehow renders
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 1 accurate statements about whole grains and slow-release carbohydrates (which have
 2 nothing to do with sugar) misleading. Put another way, Plaintiffs claim that consumers will
 3 be misled to believe that the belVita products do not contain “excessive added sugar” simply
 4 because they are advertised as containing slow-release carbohydrates.
 5           Common sense — which the Supreme Court has directed courts to apply at the
 6 pleading stage to weed out implausible theories of relief — dictates that a statement touting
 7 the presence of slow-release carbohydrates is not rendered inaccurate merely by the
 8 presence of added sugar (or any other ingredient). See Iqbal, 556 U.S. at 679 (noting that
 9 a court must “draw on . . . common sense” in determining whether a plaintiff has stated a
10 plausible claim). The absurdity of Plaintiffs’ position is highlighted by this hypothetical:
11 suppose that a car manufacturer advertised that one of its trucks had 450 horsepower, could
12 tow six tons of cargo, and could hold 3,000 pounds in its bed. A prospective consumer
13 could not plausibly claim that these statements were misleading simply because the truck
14 only got fifteen miles per gallon of fuel. But that is exactly like the theory Plaintiffs advance
15 here. In other words, they claim that a company cannot make factually true claims (that the
16 belVita products provide “steady energy” or that they contain “slow-release carbs”) simply
17 because the belVita products contain allegedly “excessive” amounts of added sugar (which
18 have nothing to do with “slow release carbs” or “steady energy”).
19           Numerous federal courts have dismissed similar lawsuits challenging factually true
20 statements about a food product’s ingredients or nutrient content, even if those foods
21 contained other supposedly “bad” ingredients:
22        In Red v. Kraft Foods, Inc., No. 10-1028, 2012 WL 5504011 (C.D. Cal. Oct. 25,
23           2012), the plaintiffs challenged the phrase “Made with Real Vegetables” on the
24           defendant’s cracker products. Though the plaintiffs conceded that the products were
25           in fact made with vegetables, they nonetheless alleged that the packaging was
26           misleading because it “‘suggest[ed] the product [was] healthy.’” Id. at *3 (quoting
27           the complaint). The court dismissed the plaintiffs’ claims, finding that “[t]he fact
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 1           remains that the product is a box of crackers, and a reasonable consumer will be
 2           familiar with the fact of life that a cracker is not composed of primarily fresh
 3           vegetables.” Id. Because the case “d[id] not concern affirmative misrepresentation,”
 4           the court held “no factfinder could find that the challenged packaging is likely to
 5           deceive a reasonable consumer.” Id. at *4.
 6        In Delacruz v. Cytosport, Inc., the plaintiff challenged the statements “25g Protein
 7           for Healthy, Sustained Energy” and “0g Trans Fat” on the defendant’s protein bars.
 8           No. 11-3532, 2012 WL 1215243, at *2, 7 (N.D. Cal. Apr. 11, 2012). The plaintiff
 9           asserted that these claims were misleading because the bars actually contained “11
10           grams of total fat (one third of the total caloric content), 8 grams of saturated fat and
11           almost no vitamins and minerals,” and “unhealthy ingredients like fractionated palm
12           kernel oil, and partially hydrogenated palm oil,” which the WHO allegedly linked to
13           “increased risk of cardiovascular disease.” Id. at *2. The court found these claims
14           implausible as a matter of law, since “Plaintiff does not claim that the bars do not
15           contain twenty-five grams of protein” or that the fats in the bars “are trans fats.” Id.
16           at *7. In other words, the court dismissed these claims because the challenged
17           statements accurately described the specific ingredients in the defendant’s product,
18           irrespective of the other ingredients that product may have contained.
19        In Henderson v. Gruma Corp., the plaintiff claimed that a dip labeled “With Garden
20           Vegetables” was mislabeled because it suggested that there were more vegetables in
21           the dip than there actually were. No. 10-04173, 2011 WL 1362188, at *12 (C.D. Cal.
22           Apr. 11, 2011). The court dismissed the complaint, ruling that the dip “in fact
23           contain[s] vegetables that can be grown in a garden,” and that the “labeling statement
24           does not claim a specific amount of vegetables in the product, but rather speaks to
25           their presence in the product, which is not misleading [as a matter of law].” Id.
26           Here, as in all the cases cited above, statements such as “Nutritious Steady Energy”
27 and “slow-release carbs from wholesome grains” are not deceptive as a matter of law
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 1 because they are factually accurate and merely indicate what they say — that the belVita
 2 products contain slow-release carbohydrates that provide steady energy.
 3            In short, the presence of added sugar in the belVita products does not have anything
 4 to do with the accuracy of the challenged statements. Statements touting the presence of
 5 “slow-release carbs” merely “speak[] to the [ingredients] presen[t] in the product, which is
 6 not misleading.” Id. at *12. Importantly, the factually true statements challenged here have
 7 nothing to do with added sugar content. Mondelēz Global has never claimed that the
 8 belVita products were “low sugar” or “reduced sugar,” and the names of those products
 9 (including “Cinnamon Brown Sugar” and “Strawberry Yogurt Crème,” among others)
10 suggest otherwise. And Mondelēz Global never hid the amount of added sugar in any of
11 the belVita products; indeed, the only reason Plaintiffs know how much sugar is in each
12 product is because that information is disclosed on the front of the package and in the
13 Nutrition Facts panel. See Compl. ¶¶ 125, 130, 135, 140.2
14            B.     The challenged statements constitute non-actionable puffery.
15            Other statements challenged by Plaintiffs are equally non-actionable because they are
16 mere puffery. “Puffery is ‘exaggerated advertising, blustering, and boasting upon which no
17 reasonable buyer would rely.’” In re Clorox Consumer Litig., 894 F. Supp. 2d 1224, 1233
18 (N.D. Cal. 2012) (citing Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1145 (9th
19 Cir. 1997)). Under California law, “[a]dvertisements that amount to ‘mere’ puffery are not
20 actionable[.]” Abramson v. Marriott Ownership Resorts, Inc., 155 F. Supp. 3d 1056, 1066
21 (C.D. Cal. 2016) (citations omitted).
22
23    2
       Plaintiffs will likely rely on the (non-binding) district court opinions in Krommenhock v.
24    Post Foods, LLC, 255 F. Supp. 3d 938 (N.D. Cal. 2017) or Hadley v. Kellogg Sales Co.,
      No. 16-4955, 2017 WL 3453391 (N.D. Cal. Aug. 10, 2017), but those decisions are
25
      distinguishable because they involved different labeling claims, different packaging, and
26    different products with different nutritional profiles. The Ninth Circuit has held each
      specific advertisement must be viewed “as a whole” to determine whether it is false, and
27
      here (as explained above) the packaging “as a whole” is not deceptive. See Freeman v.
28    Time, Inc., 68 F.3d 285, 290 (9th Cir. 1995).
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 1           In determining what constitutes puffery, courts in California have held that “a
 2 statement that is quantifiable” or that “makes a claim as to the ‘specific or absolute
 3 characteristics’ of a product’” may amount to an actionable misrepresentation, but “a
 4 general, subjective claim about a product is non-actionable puffery.” Demetriades v. Yelp!,
 5 Inc., 228 Cal. App. 4th 294, 311 (2014) (quoting Newcal Indus., Inc. v. Ikon Office
 6 Solutions, 513 F.3d 1038, 1053 (9th Cir. 2008)). In other words, a statement is non-
 7 actionable puffery if it cannot be measured or verified by reference to any objective
 8 standard. Id.; see also Cook, Perkiss & Liehe, Inc. v. N. Cal. Collection Serv., Inc., 911
 9 F.2d 242, 246 (9th Cir. 1990) (holding that “general assertions of superiority” are not
10 actionable). “Determining whether an alleged misrepresentation constitutes puffery is a
11 question of law appropriate for resolution on a . . . motion to dismiss.” Clorox, 894 F. Supp.
12 2d at 1233 (citing Newcal Indus., Inc., 513 F.3d at 1053).
13           Here, the statements Plaintiffs challenge are classic examples of “healthy-sounding
14 terms on food labels” that constitute “non-actionable puffery.” Gedalia v. Whole Foods
15 Mkt. Servs., Inc., 53 F. Supp. 3d 943, 954 (S.D. Tex. 2014) (applying California law). For
16 example. Plaintiffs allege that it is misleading to characterize the belVita products as a
17 “delicious, wholesome breakfast,” to encourage consumers to “[e]njoy belVita Soft Baked
18 Breakfast Biscuits as part of a balanced breakfast,” or to use phrases like “POWER UP,
19 PEOPLE.” Compl. ¶¶ 126, 131. But unlike a claim that a product contains “no artificial
20 color” or “fewer than 100 calories,” there is no objective way to determine whether the
21 belVita products are “delicious,” “wholesome,” or “part of a balanced breakfast.” These
22 “general, subjective claim[s]” make no assertions “as to the ‘specific or absolute
23 characteristics’” of the belVita products, and thus cannot support a claim for relief.
24 Demetriades, 228 Cal. App. 4th at 311 (quoting Newcal, 513 F.3d at 1053).
25           For that reason, numerous federal courts in California and elsewhere have repeatedly
26 dismissed claims premised on similar statements, including “nutritious” and “wholesome,”
27 after characterizing such statements as non-actionable puffery. See, e.g., Fraker v. KFC
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 1 Corp., No. 06-1284, 2007 WL 1296571, at *3 (S.D. Cal. Apr. 30, 2007) (holding “highest
 2 quality ingredients” and “[people] can enjoy ‘fast food’ as part of a sensible balanced diet”
 3 were puffery); Blue Buffalo Co. v. Nestlé Purina Petcare Co., No. 15-384, 2015 WL
 4 3645262, at *10 (E.D. Mo. June 10, 2015) (holding that “‘100% Complete & Balanced
 5 Nutrition’ is mere puffery . . . because whether something is complete or balanced nutrition
 6 is merely an opinion about quality and is not capable of being proven true or false”); Tylka
 7 v. Gerber Prods. Co., No. 96-1647, 1999 WL 495126, at *8-9 (N.D. Ill. June 29, 1999)
 8 (holding “optimum nutrition” and “most wholesome nutritious safe foods” were puffery).
 9           Furthermore, Plaintiffs cannot take the words “nutritious” and “wholesome” out of
10 context to claim deception. See Freeman, 68 F.3d at 290 (affirming dismissal of false
11 advertising lawsuit and noting that courts must evaluate the packaging “as a whole” instead
12 of considering specific terms in isolation). As the packaging reveals, the words “nutritious”
13 or “wholesome” were not used in isolation to claim that the belVita cookies were the most
14 healthful products that one could eat; rather, they were used in the context of touting a
15 particular attribute. For example, the term “nutritious” is used in the context of “Nutritious
16 Sustained Energy — 18g Whole Grain.” See Compl. ¶ 125. In other words, the term
17 “nutritious” is referring to the 18 grams of whole grain, which undoubtedly are nutritious.
18           In keeping with the Ninth Circuit’s admonition that the challenged label must be
19 viewed “as a whole,” courts have rejected lawsuits that pluck one word out of context to
20 claim deception. Hairston v. South Beach Beverage Co. is illustrative. There, the plaintiff
21 challenged the labeling of SoBe Lifewater beverages because, among other things, the
22 labels included the phrase “all natural,” which was used in close proximity to statements on
23 the label about the presence of vitamins and fruit flavors. No. 12-1429, 2012 WL 1893818,
24 at *1 (C.D. Cal. May 18, 2012). After holding that other challenged representations
25 (including the use of the common fruit and vitamin names) were not actionable, the court
26 held that the plaintiff could not state a claim based on the phrase “all natural.” Id. at *4.
27 “[O]nce the . . . statements regarding fruit names and vitamin labeling are removed,” the
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 1 court reasoned, “Plaintiff’s claim is based on a single out-of-context phrase found in one
 2 component of Lifewater’s label.” Id. Because “Lifewater does not use the ‘all natural’
 3 language in a vacuum,” the court concluded, “it will be impossible for Plaintiff to allege
 4 how the ‘all natural’ language is deceptive without relying on the . . . statements regarding
 5 fruit names and vitamins.” Id.
 6           Here, as in Hairston, Plaintiffs cannot hitch their case to terms like “nutritious” and
 7 “wholesome” in a “vacuum.”               Even if Plaintiffs could establish that “nutritious” or
 8 “wholesome” were potentially misleading when used alone (which they cannot), the terms
 9 here are being used to refer to the fact that “whole grains” are nutritious (which is in fact
10 true) and cannot be taken out of context to suggest deception.
11           C.     At worst, the challenged statements are ambiguous and are clarified by
12                  other statements on the front of the packaging.

13           As explained above, Plaintiffs’ allegations are woefully insufficient to establish that
14 the labeling of the belVita products conveyed to consumers that they were low in sugar or
15 were otherwise healthy. At best, Plaintiffs can only claim that phrases like “balanced
16 breakfast” and “nutritious steady energy” are ambiguous, and that they subjectively
17 believed that they suggested that the belVita products had no or little sugar in them. But as
18 many courts have held, representations that are merely ambiguous are not actionable where
19 other aspects of the packaging are sufficient to clarify the allegedly ambiguous statements.
20 See Freeman, 68 F.3d at 290 (affirming dismissal of false advertising claim where “[a]ny
21 ambiguity that [the plaintiff] would read into any particular statement is dispelled by the
22 [advertisement] as a whole”).
23           For instance, in Workman v. Plum, Inc., the plaintiffs alleged that statements touting
24 certain ingredients in the defendant’s fruit purees, including pumpkin, pomegranate, quinoa,
25 and Greek yogurt, were misleading because those were not the predominant ingredients in
26 the product. 141 F. Supp. 3d 1032, 1033-34 (N.D. Cal. 2015). The court dismissed this
27 lawsuit because “the labels contain no affirmative misrepresentations” and “all of the items
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 1 pictured are actually present in the product.” Id. at 1035. In so holding, the court
 2 emphasized that “[e]very reasonable shopper knows that the devil is in the details” and that
 3 “[a]ny potential ambiguity could be resolved by the back panel of the products, which listed
 4 all ingredients in order of predominance, as required by the FDA.” Id. Absent any
 5 “affirmative misrepresentations” on the labeling of the fruit purees, the court concluded that
 6 the plaintiff had not stated a plausible claim of deception. Id. at 1036.
 7           Likewise, in In re 100% Grated Parmesan Cheese Marketing & Sales Practices
 8 Litigation, the court dismissed a series of lawsuits alleging that the phrase “100% Grated
 9 Parmesan Cheese” was misleading because the products actually contained small quantities
10 of cellulose powder and potassium sorbate. No. 16-5802, 2017 WL 3642076, at *1 (N.D.
11 Ill. Aug. 24, 2017). After surveying the applicable law (including Workman), the court
12 distinguished between labels involving affirmative misrepresentations and those involving
13 merely ambiguous statements:
14
             Where a plaintiff contends that certain aspects of a product’s packaging are
15           misleading in isolation, but an ingredient label or other disclaimer would dispel
16           any confusion, the crucial issue is whether the misleading content is
             ambiguous; if so, context can cure the ambiguity and defeat the claim . . . In
17
             other words, while a reasonable consumer, lulled into a false sense of security
18           by an unavoidable interpretation of an allegedly deceptive statement, may rely
19           on it without further investigation . . . consumers who interpret ambiguous
             statements in an unnatural or debatable manner do so unreasonably if an
20
             ingredient label would set them straight.
21
22 Id. at *5-6. The court then held that the phrase “100% Grated Parmesan Cheese” was
23 ambiguous because, while it “might be interpreted as saying that the product is 100% cheese
24 and nothing else, it also might be an assertion that 100% of the cheese is parmesan cheese,
25 or that the parmesan cheese is 100% grated.” Id. at *6. Given the ambiguity of the allegedly
26 misleading label, the court dismissed the complaint because the plaintiffs’ claims were
27 “doomed by the readily accessible ingredient panels on the products that disclose the
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 1 presence of non-cheese ingredients.” Id.; see also, e.g., Red, 2012 WL 5504011 at *3-4
 2 (holding that “Made with Real Vegetables” was not an “affirmative misrepresentation” and
 3 was not actionable simply because consumers might “assume things about the product[]
 4 other than what the statement actually says”); Goldman v. Bayer AG, No. 17-647, 2017 WL
 5 3168525, at *7 (N.D. Cal. July 26, 2017) (dismissing lawsuit challenging labeling of Bayer
 6 vitamin gummies because the brand name “One a Day” was ambiguous and “[a] reasonable
 7 consumer would simply need [to] turn the bottle” to ascertain the correct serving size).
 8           Here, as in Workman, Grated Parmesan, Red, and Goldman, Plaintiffs’ claim fails
 9 because they have not identified any affirmative misrepresentations on the labels of the
10 belVita products whatsoever. To the extent the statements they challenge were ambiguous
11 at all, Plaintiffs could have readily resolved that ambiguity by looking at the front of the
12 package, which displays the amount of sugar in the belVita products See Gitson v. Trader
13 Joe’s Co., No. 13-1333, 2013 WL 5513711, at *7 (N.D. Cal. Oct. 4, 2013) (holding that no
14 reasonable consumer could be deceived into thinking that Trader Joe’s “Organic Soy Milk”
15 contained cow’s milk where “[t]he packaging states, on its front and back, that Organic Soy
16 Milk is ‘LACTOSE & DAIRY FREE,’ and, on its side, that it is ‘an alternative to dairy
17 milk’”). Furthermore, Plaintiffs could have confirmed the amount of added sugar present
18 in each one of the belVita products by reviewing the Nutrition Facts panel, which is a
19 “familiar and ubiquitous” feature “found on most food packages” and which would have
20 clarified any alleged ambiguity found elsewhere on the packaging. Reid v. Johnson &
21 Johnson, 780 F.3d 952, 959 (9th Cir. 2015).                    In the absence of any affirmative
22 misrepresentation, Plaintiffs cannot plausibly allege that vague, arguably ambiguous
23 statements like “nutritious steady energy” are likely to deceive a reasonable consumer.
24 II.       Plaintiffs Have Not Plausibly Alleged That the belVita Products Contain
25           “Excessive” Amounts of Added Sugar.

26           Plaintiffs’ claims fail for another independent reason: Their claim of deception is
27 entirely predicated on the assertion that “[e]xcessive consumption of added sugar is toxic
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 1 to the human body” (Compl. ¶¶ 1-2), but Plaintiffs have not plausibly alleged that the
 2 amount of added sugar in the belVita products is in fact “excessive.” In fact, the amount of
 3 added sugar in belVita products is well below the recommended limits recently set by the
 4 FDA, undermining Plaintiffs’ claims of “excessive” sugar content.
 5           In 2016, the FDA established a Daily Reference Value (“DRV”) for added sugars of
 6 10% of total daily calories, or 50 grams of added sugar per day assuming a 2,000 calorie
 7 diet. RJN Ex. B at 33820. Plaintiffs’ own allegations confirm that the amount of added
 8 sugar is consistent with the FDA’s DRV for added sugar. According to Plaintiffs, the
 9 belVita products contain between 8 and 14 grams of added sugar per serving, or an average
10 of 10.7 grams of added sugar per serving. See Compl. ¶¶ 124, 129, 134, 139. In other
11 words, the average belVita product contains less than a quarter of the FDA’s recommended
12 daily intake of added sugar. And since breakfast is only one of the three meals that a person
13 typically eats each day, Plaintiffs’ conclusory allegation that the belVita products contain
14 “excessive” sugar is implausible. In sum, because the amount of added sugar in the belVita
15 products is consistent with and well below the FDA’s Daily Reference Value limit for added
16 sugars, Plaintiffs cannot plausibly allege that they contain “excessive” sugar.
17           Plaintiffs largely ignore the FDA’s recent guidance, and instead claim that the
18 American Heart Association (“AHA”) has adopted more stringent recommendations than
19 the FDA in recommending that consumers “restrict[] added sugar to 5% of calories.”
20 Compl. ¶ 107. As a threshold matter, the FDA rejected the purported 5% of calories position
21 purportedly adopted by the AHA. In its final rulemaking, the FDA expressly rejected
22 further limitations to the added sugars DRV:
23              We disagree that the DRV for added sugars should be lower than 10 percent
24              of calories or that there is adequate evidence at this time to set a DRV for
                added sugars of less than 5 percent of calories, [as] those recommendations
25
                are not consistent with those of U.S. consensus reports.
26
      RJN Ex. B at 33849. A private organization’s purported position cannot trump the U.S.
27
      government’s guidance.
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 1           More importantly, the AHA does not in fact endorse a rigid 5% cap on consumption
 2 of added sugars per day, despite Plaintiffs’ claims. See RJN Ex C. Rather, the AHA has
 3 adopted a flexible and pragmatic recommendation that individuals consume no more than
 4 a certain number of “discretionary calories” (which may be “divided between solid fats and
 5 added sugars”) per day depending on their individual energy needs (which in turn depend
 6 on age, gender, and activity level). Id. at Table 3. And while the AHA has recommended
 7 that added sugars comprise no more than half of each person’s discretionary calorie
 8 allotment that does not translate to a 5% cap on added sugars; to the contrary, the AHA
 9 suggestions provide that a person who requires 1800 calories per day can consume up to
10 5.5% of his or her calories (half of the 11% discretionary calorie allowance) from added
11 sugar, while a person who requires 2400 calories per day can consume up to 7.5% of his or
12 her calories (half of the 15% discretionary calorie allowance) from added sugar. Id.
13           Plaintiffs also ignore the AHA’s recognition that “[t]he form in which added sugars
14 are consumed” is a relevant factor in determining whether that food is healthy. Id. at 1016.
15 Specifically, the AHA is primarily concerned with sugary beverages, since “[t]otal energy
16 intake may be greater with fluid calorie intake than with calorie intake from solid foods”
17 due to “the weak satiety signals evoked from energy-containing beverages.” Id. at 1015.
18 Conversely, the AHA has recognized potential benefits from consuming certain foods
19 containing added sugars, stating that while “[s]oft drinks, sugar, and sweets are more likely
20 to have a negative impact on diet quality, [] dairy foods, milk drinks, and presweetened
21 cereals may have a positive impact.” Id. at 1016. The AHA further stated that “when sugars
22 are added to otherwise nutrient-rich foods, such as . . . sugar-sweetened cereals, the quality
23 of children’s and adolescents’ diets improves.” Id. at 1012 (emphasis added). The AHA
24 has also emphasized that “the relationship of the intake of sugars with fiber intake” is a
25 relevant dietary consideration and that foods high in fiber are “associated with decreasing
26 energy intake, which translates into weight loss.” Id. at 1016.
27           Plaintiffs also argue that the World Health Organization (“WHO”) has recommended
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 1 that “no more than 10% of an adult’s calories — and ideally less than 5% — should come
 2 from added sugar.” Compl. ¶ 108. Plaintiffs’ assertion is also similarly misleading, as they
 3 rely on a draft document issued by the WHO in 2014, which was superseded by a final
 4 document issued in 2015.3 The WHO’s 2015 document mirrors the FDA’s determination
 5 in providing a “strong recommendation” that sugar intake be reduced to “less than 10% of
 6 total energy intake,” and provides only a “conditional recommendation” that consumers
 7 reduce added sugar intake “below 5% of total energy intake.” RJN Ex. E at 16. The WHO
 8 explains that its conditional recommendation, which reflects “less certainty ‘about the
 9 balance between the benefits and harms or disadvantages of implementing a
10 recommendation,’” “is based on very low quality evidence.” Id.
11            In sum, the FDA has rejected exactly what Plaintiffs propose here — to limit added
12 sugar to 5% of daily caloric intake. Instead, the FDA established a Daily Reference Value
13 of 50 grams of added sugar. RJN Ex. B. In so doing, the FDA emphasized that the
14 healthiness of a food with added sugars “must be viewed in the context of the day’s total
15 dietary intake” and cautioned against “erroneously think[ing] a food, which can be part of
16 a healthy dietary pattern, is not ‘healthful’ because it contains some amount of added
17 sugars.” Id. at 33761. Accordingly, Plaintiffs’ factual predicate that the amount of sugars
18 is “excessive” does not pass muster under the Iqbal/Twombly plausibility requirement.
19 III.       Plaintiffs’ Claims Are Preempted Because Federal Law Does Not Treat Added
20            Sugar as a “Disqualifying” Nutrient.

21            The gravamen of Plaintiffs’ lawsuit is that phrases like “nutritious steady energy” are

22 misleading because they suggest that the belVita products are low in added sugar. In other
23 words, their theory is that a company cannot make any “positive” statements about a product
24 (even if truthful) if it has a “negative” (i.e., sugar) in it. In addition to being implausible, it
25
26    3
     See Compl. ¶ 108 n. 90 (citing March 4, 2014 guidelines); RJN Ex. D at 3 (announcing
27 the release of final WHO guidelines in March 2015 and noting that “[i]n March 2014, WHO
   opened a public consultation on the then draft sugars guideline to seek inputs from all
28 stakeholders” (emphasis added)).
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 1 defies and conflicts with FDA’s regulatory framework: FDA has repeatedly rejected
 2 attempts to limit what a food label can say solely because of the sugar content in a product.
 3            Generally, the FDA allows food labels to make a “nutrient content” claim (which
 4 refers to the amount of nutrients in a food product) or a “health” claim (which refers to a
 5 food product’s potential impact on health).4 The FDA, however, has set limits on such
 6 statements if the food product also contains a “disqualifying” nutrient that the FDA deems
 7 to be generally unhealthy when consumed in excessive amounts. The FDA has only
 8 established four “disqualifying” nutrients — total fat, saturated fat, cholesterol, and sodium.
 9 After extensive analysis, the FDA declared that these four ingredients pose a potential
10 health risk if consumed in excessive amounts and thus are “disqualifying nutrients” such
11 that their presence may preclude the use of “nutrient content” and “health” claims on the
12 packaging.5
13            Notably, the FDA has expressly rejected repeated calls that sugar be deemed a
14 “disqualifying” nutrient that would prohibit “health” and “nutrient content” claims because
15 there is insufficient science to support it. In 1993, after an extensive notice-and-comment
16 procedure, the FDA declined to identify sugar as a “disqualifying nutrient” for health claim
17
18    4
        A “nutrient content claim” is an implicit or explicit statement about the amount of a
19    nutrient in a product (e.g., “contains 100 calories”). 21 C.F.R. § 101.13(b)(1) (express
20    nutrient content claim); 21 C.F.R. § 101.13(b)(2) (implied nutrient content claim). In
      contrast, a “health claim . . . characterizes the relationship of any substance to a disease or
21    health-related condition” (e.g., “oat bran can reduce cholesterol”). 21 C.F.R. §
22    101.14(a)(1). Plaintiffs appear to suggest that the statements on belVita products are health
      claims. See, e.g., Compl. ¶¶ 153, 156 (referring to “health and nutrition” claims). For
23    purposes of this motion, Mondēlez Global assumes that the challenged statements are health
24    claims or nutrient content claims.
      5
25   See 21 C.F.R. § 101.14(a)(4) (defining “disqualifying nutrient levels” as “the levels of
   total fat, saturated fat, cholesterol, or sodium in a food above which the food will be
26 disqualified from making a health claim.”); 21 C.F.R. § 101.13(h)(2) (setting disclosure
27 requirements if total fat, saturated fat, cholesterol, or sodium exceeds certain levels); 21
   C.F.R. §§ 101.65(d)(2)(i) & (ii) (setting levels of total fat, saturated fat, cholesterol, and
28 sodium precluding implied nutrient content claims involving the term “healthy”).
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 1 purposes. See RJN Ex. F at 2491 (setting forth final rule). The FDA reasoned that it “would
 2 not be appropriate to limit health claims on foods on the basis of added sugars,” because
 3 there was “no sound basis” as a scientific matter for doing so. Id.
 4           One year later, the FDA reached the same conclusion with respect to nutrient content
 5 claims. After a notice-and-comment procedure in which the FDA expressly debated the
 6 appropriate levels of sugar and calories, the FDA found no support for the position that
 7 consumers would necessarily expect a product presented as “healthy” to be low in calories
 8 or sugar. RJN Ex. G at 24244. The FDA has maintained this position despite subsequent
 9 attempts to add sugar as a disqualifying ingredient for purposes of nutrient content and
10 health claims. See, e.g., RJN Ex. H (summarizing a petition by the Center for Science and
11 the Public Interest). In other words, the FDA has repeatedly rejected what Plaintiffs propose
12 here — to limit what a food label can say solely because of the sugar content in a product.
13           In light of this regulatory framework established by the FDA and Congress,
14 Plaintiffs’ claims are preempted because they attempt to impose labeling requirements on
15 Mondelēz Global in addition to those set forth by federal law.
16           The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”),
17 establishes a comprehensive and uniform federal scheme of food regulation to ensure that
18 food is safe and labeled in a manner that does not mislead consumers. In 1990, Congress
19 amended the FDCA through the passage of the Nutrition Labeling and Education Act
20 (“NLEA”) to “clarify and to strengthen the Food and Drug Administration’s legal authority
21 to require nutrition labeling on foods, and to establish the circumstances under which claims
22 may be made about nutrients in foods.” RJN Ex. F. Among other things, the NLEA sets
23 forth specific requirements for health-related claims on food labels. See 21 U.S.C. § 343(r).
24 Further, the NLEA includes a broad express preemption provision directing that “no State
25 or political subdivision of a State may directly or indirectly establish . . . any requirement
26 for . . . labeling of food . . . that is not identical to the requirement[s]” set forth in the statute.
27 21 U.S.C. § 343-1(a) (emphasis added); see also Mills v. Giant of Md., LLC, 441 F. Supp.
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 1 2d 104, 106-09 (D.D.C. 2006) (noting expansive scope of NLEA preemption clause).
 2           As the FDA has explained, “‘[n]ot identical to’ does not refer to the specific words
 3 in the requirement but instead means that the State requirement directly or indirectly
 4 imposes obligations or contains provisions” that are “not imposed by or contained in” or
 5 that “[d]iffer from those specifically imposed by or contained in” the statute or its
 6 implementing regulations. 21 C.F.R. § 100.1(c)(4); see also Turek v. Gen. Mills, Inc., 662
 7 F.3d 423, 427 (7th Cir. 2011) (“Even if the disclaimers that the plaintiff wants added would
 8 be consistent with the requirements imposed by the Food, Drug, and Cosmetic Act,
 9 consistency is not the test [for preemption]; identity is.”). In other words, states cannot
10 impose their own unique labeling standards that go “beyond, or [are] different from” the
11 federal labeling standards that Congress has established. In re Pepsico, Inc., Bottled Water
12 Mktg. & Sales Practices Litig., 588 F. Supp. 2d 527, 532 (S.D.N.Y. 2008). As a result, state
13 “[c]onsumer protection laws, such as the UCL, FAL, and [CLRA] are . . . preempted if they
14 seek to impose requirements that contravene the requirements set forth by federal law.”
15 Peviani v. Hostess Brands, Inc., 750 F. Supp. 2d 1111, 1118 (C.D. Cal. 2010).
16           In short, Plaintiffs’ lawsuit is preempted because it attempts to impose a requirement
17 the FDA has specifically declined to impose — namely, to treat added sugar as a
18 disqualifying nutrient. Ackerman v. Coca-Cola Co., No. 09-0395, 2010 WL 2925955
19 (E.D.N.Y. July 21, 2010), is directly on point. There, the plaintiffs asserted claims under
20 California and New Jersey consumer protection law challenging numerous statements on
21 the Vitaminwater beverage label, including “this combination of zinc and fortifying
22 vitamins can . . . keep you healthy as a horse” and “specially formulated to support optimal
23 metabolic function.” Id. at *5. Among other theories, the plaintiffs alleged that the
24 Vitaminwater labels were misleading because they “ma[de] health claims or implied
25 nutrient-content claims despite the high amount of sugar in the product.” Id. at *7. The
26 defendants moved to dismiss, arguing that the plaintiffs’ claims were preempted by the
27 NLEA. The court agreed, noting that “[i]n 1993, the FDA issued a final rule regulating the
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 1 nutrients that could be considered ‘disqualifying’ for health-claim purposes, and identified
 2 only four such nutrients: total fat, saturated fat, cholesterol, or sodium.’” Id. at *8.
 3 Moreover, “[t]he FDA received several comments . . . proposing that sugar be included as
 4 a disqualifying nutrient,” but “rejected these comments.” Id. The court therefore concluded
 5 that “the presence of sugar is not a disqualifying nutrient which would prohibit the
 6 defendants from ‘touting the purported benefits’ . . . of other ingredients in their beverage,
 7 whether through health claims or express or implied claims of nutrient content . . . .” Id.
 8           Likewise, in Chacanaca v. Quaker Oats Co., the court dismissed a lawsuit
 9 challenging the statements “made with whole grain oats” and “no high fructose corn syrup”
10 on the theory that “the presence of hydrogenated vegetable oil [i.e. trans fat] makes these
11 claims, to the extent they suggest Chewy Bars are nutritionally helpful, misleading.” 752
12 F. Supp. 2d 1111, 1122 (N.D. Cal. 2010). Citing Ackerman, the court reasoned that “the
13 presence of trans fats alone is not a ‘disqualifying’ nutrient which would prevent Quaker
14 Oats from emphasizing whatever other health benefits are available from the Bars’ other
15 ingredients or because it lacks certain ingredients.” Id. Accordingly, the court held that
16 “plaintiffs’ state law claim is inconsistent with subsection (r) [of the NLEA] and its
17 regulations to the extent it depends on the presence of trans fats to render the content claims
18 misleading. . . . Essentially, plaintiffs’ claim asks this Court to ascribe disqualifying status
19 to trans fats where the Agency has at least so far declined to do so.” Id.
20           Indeed, in just the last seven months, two federal courts faced with other “excessive
21 sugar” lawsuits brought by Plaintiffs’ counsel have cited Ackerman and Chacanaca in
22 holding that federal law preempts efforts to treat added sugar as a “disqualifying” nutrient.
23 See Krommenhock, 255 F. Supp. 3d at 956 (“The FDA has identified disqualifying
24 nutrients, including total fat, saturated fat, cholesterol, and sodium. Sugar is not one of
25 them.”); Hadley, 2017 WL 3453391 at *13 (“[T]he FDA has expressly decided to not set
26 such disqualifying levels for sugar or added sugar. Therefore, Plaintiff’s theory that health
27 claims or implied nutrient content claims are misleading because of a certain amount of
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 1 added sugar in a product would essentially ‘ascribe disqualifying status’ to added sugar.”).
 2           Here, the crux of Plaintiffs’ lawsuit is that the labels of the belVita products falsely
 3 “state, suggest, or imply that the Products are healthy” because they contain allegedly
 4 “excessive” amounts of added sugar. Compl. ¶ 148. Indeed, Plaintiffs even characterize
 5 the statements challenged in this case as “claims regarding the ‘health and nutrition’
 6 qualities of the [belVita] Products.” Id. ¶¶ 153, 156. But this theory — namely, that
 7 otherwise accurate and lawful statements about the nutritional benefits of consuming slow-
 8 release carbohydrates are misleading solely by virtue of their added sugar content — is
 9 inconsistent with the FDA’s decision not to ascribe “disqualifying” status to added sugar,
10 and it is precisely the sort of claim that Ackerman, Chacanaca, Krommenhock, and Hadley
11 make clear is preempted. Accordingly, because Plaintiffs’ theory of relief would require
12 the Court to impose labeling requirements in addition to those imposed by federal law, this
13 Court should dismiss their lawsuit.
14 IV.       Plaintiffs Fail to State a Plausible Breach of Express Warranty Claim.
15           In California, an express warranty is an “affirmation of fact or promise made by the
16 seller to the buyer” that constitutes “part of the basis of the bargain.” Cal. Com. Code §
17 2313(1)(a). “In order to plead a cause of action for breach of express warranty, one must
18 allege the exact terms of the warranty, plaintiff’s reasonable thereon, and a breach of that
19 warranty which proximately causes plaintiff injury.” Williams v. Beechnut Nutrition Corp.,
20 185 Cal. App. 3d 135, 142 (1986). Here, Plaintiffs simply allege that Mondelēz Global
21 “made affirmations of fact or promises, or descriptions of goods, listed in paragraphs 126,
22 131, 136, and 141.” Compl. ¶ 212. But that one-sentence allegation is woefully insufficient
23 to describe the “exact terms” of any alleged express warranty, as required by California law.
24 See Williams, 185 Cal. App. 3d at 142.
25           Moreover, the statements Plaintiffs challenge in this lawsuit cannot support a breach
26 of warranty claim because they are either non-actionable puffery or are truthful statements.
27 Under California law, “[g]eneralized, vague, and unspecified assertions constitute ‘mere
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 1 puffery’ upon which a reasonable consumer could not rely, and hence are not actionable”
 2 as warranties. Oestreicher v. Alienware Corp., 544 F. Supp. 2d 964, 973 (N.D. Cal. 2008)
 3 (citation omitted). Here, as in Oestreicher, aspirational exhortations like “POWER UP,
 4 PEOPLE” or characterizations of the belVita products as a “nutritious, convenient breakfast
 5 choice” are plainly “[g]eneralized, vague, and unspecified assertions” and not
 6 “[a]ffirmation[s] of fact or promise[s].” For that reason, numerous courts have dismissed
 7 similar breach of warranty claims premised on puffery statements. See, e.g., Consumer
 8 Advocates v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1361 (2003) (holding that
 9 broadcaster’s assertion of “crystal clear” video quality was puffery and was not actionable
10 as a warranty).
11           Likewise, even if statements like “nutritious steady energy” or “slow-release carbs”
12 are not puffery, they cannot support a breach-of-warranty claim because they accurately
13 reflect that the products contain whole grains and other slowly digestible carbohydrates.
14 Courts have routinely dismissed breach of express warranty claims in similar labeling cases
15 where the challenged packaging truthfully represents the product’s contents. See, e.g.,
16 Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 893-94 (C.D. Cal. 2013)
17 (dismissing express warranty claim premised on term “all natural flavors” because this
18 phrase “accurately describes the product”); McKinnis v. Kellogg USA, No. 07-2611, 2007
19 WL 4766060, at *5 (C.D. Cal. Sept. 19, 2007) (dismissing express warranty claim when
20 defendant accurately represented that its cereal contained “natural fruit flavors”). This
21 Court should likewise dismiss Plaintiffs’ breach of express warranty claim.
22 V.        Plaintiffs Fail to State a Plausible Breach of Implied Warranty Claim.
23           Under California law, the implied warranty of merchantability “provides the
24 consumer with only a minimum level of protection against product defects; it does not
25 guarantee a perfect product.” Red v. Gen. Mills, Inc., No. 215-02232, 2015 WL 9484398,
26 at *6 (C.D. Cal. Dec. 29, 2015) (emphasis added). This warranty is breached only where
27 the product lacks “the most basic degree of fitness for ordinary use.” Birdsong v. Apple,
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 1 Inc., 590 F.3d 955, 958 (9th Cir. 2009) (citation and internal quotation marks omitted).
 2           Courts have routinely rejected claims for breach of the implied warranty of
 3 merchantability in food cases where, as here, the plaintiff claims not that the defendant’s
 4 food products were inedible, but rather that they failed to live up to consumer expectations.
 5 See, e.g., Viggiano, 944 F. Supp. 2d at 896 (rejecting implied warranty of merchantability
 6 claim where the plaintiff “does not allege any facts suggesting that the soda is not
 7 merchantable or fit for use as a diet soft drink; he has not, for example, alleged that the
 8 beverage was not drinkable, that it was contaminated or contained foreign objects”); Bohac
 9 v. Gen. Mills, Inc., No. 12-5280, 2014 WL 1266848, at *10 (N.D. Cal. Mar. 26, 2014)
10 (dismissing implied warranty of merchantability claims because plaintiff did not allege that
11 the granola bars “were not edible or contaminated.”). Plaintiffs do not allege that the
12 products are inedible or otherwise unfit for consumption; instead, they simply allege that
13 the products are not healthy and “did not conform to promises and affirmations made on
14 the container or label of the goods.” Compl. ¶¶ 219-20. Accordingly, this Court should
15 dismiss Plaintiffs’ claim for breach of the implied warranty of merchantability.
16                                             CONCLUSION
17           For the foregoing reasons, this Court should dismiss Plaintiffs’ complaint with
18 prejudice.
19
20 DATED: December 12, 2017                       JENNER & BLOCK LLP
21                                          By: s/ Kenneth K. Lee
22                                              Attorney for Mondelēz Global LLC
                                                (incorrectly sued as Mondelēz
23                                              International, Inc.)
24                                              E-mail: klee@jenner.com

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